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 4
     Attorney for Defendant Joseph McAllister
 5
 6
 7
                                   UNITED STATES DISTRICT COURT
 8
                                  EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA             )                 CASE NO.        2:04-cr-0218-MCE
11                                        )
                 Plaintiff,               )
12                                        )
           v.                             )                 STIPULATION AND
13                                        )                 (PROPOSED) ORDER
     JOSEPH WILLIAM McALLISTER,           )                 TO CONTINUE SENTENCING DATE
14                                        )                 AND RELATED DEADLINES
                 Defendant.               )
15    ___________________________________ )                 Date: January 17, 2006
                                          )                 Time: 8:30 a.m.
16                                                          Hon. Morrison C. England, Jr.
17
              With the Court’s permission, defendant JOSEPH WILLIAM McALLISTER and plaintiff
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     UNITED STATES OF AMERICA, by and through their undersigned counsel, do hereby
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     stipulate and agree to vacate the defendant’s Sentencing Hearing, presently set for January 17,
20
     2006 at 8:30 a.m., and reset it for February 14, 2006 at 8:30 a.m. Written objections to the PSR
21
     will be due January 17, 2006, and the Correction Date will be January 31, 2006.
22
              This rescheduling is necessary due to the parties’ attempts to resolve a sentencing issue.
23
     The parties are presently attempting to the issue informally.
24
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25
     //
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       Case 2:04-cr-00218-MCE Document 91 Filed 01/04/06 Page 2 of 2


 1          It is further stipulated and agreed that time will continue to be excluded for the same
 2   reasons articulated in our prior court appearances.
 3
 4   DATED: December 29, 2005                      /s/ William J. Portanova
                                                   WILLIAM J. PORTANOVA
 5                                                 Attorney for Defendant
                                                   JOSEPH WILLIAM McALLISTER
 6
 7
     DATED: December 29, 2005                      /s/ Philip A, Ferrarri
 8                                                 PHILIP A. FERRARRI
                                                   Assistant United States Attorney
 9
10
11   IT IS SO ORDERED.
12
     DATED: January 3, 2006
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15                                                 ___________________________________
                                                   MORRISON C. ENGLAND, JR
16
                                                   UNITED STATES DISTRICT JUDGE
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